                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      KNOXVILLE
 Case #: 3:21-cv-308                                     Date: November 3, 2021

                  State of Tennessee et al             US Department of Education
                                               vs.
                                                                 et al

 PROCEEDINGS: Hearing on Motions to Intervene, for Preliminary Injunction and Dismiss

    HONORABLE CHARLES E. ATCHLEY, JR., UNITED STATES DISTRICT JUDGE

 Allison Laster                                                         Kara Nagorny
 Deputy Clerk                                                           Court Reporter

 Attorney for Plaintiffs                                         Attorney for Defendant
 Clark Hildabrand                                                Christopher Healy
 Sarah Campbell                                                  Martin Tomlinson
 Matt Cloutier
 Travis Royer                                                    Attorney for Intervening Party
                                                                 Henry Frampton
                                                                 Ryan Bangert
                                                                 Jonathan Scruggs




 Oral Argument held on pending motions (Docs. 10, 49, 51 and 52) and taken under advisement.
 An Order will issue.




 10:00 A.M. to 12:02 P.M.
 12:25 P.M. to 1:20 P.M.
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